Case 4:21-cv-01074-P Document 72 Filed 10/18/21       Page 1 of 2 PageID 695



                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

    DAVID SAMBRANO, ET AL.,

         Plaintiffs,

    v.                                               No. 4:21-cv-1074-P

    UNITED AIRLINES, INC.,

         Defendant.

                                  ORDER
         Before the Court is Defendant’s Motion to Clarify the Temporary
   Restraining Order entered by the Court on October 12, 2021. ECF No.
   70. The Motion requests that the Court clarify the following provision
   from the Temporary Restraining Order: “United Airlines, Inc. is
   TEMPORARILY RESTRAINED and ENJOINED from denying any
   requests for religious or medical accommodations from United Airlines,
   Inc.’s COVID-19 vaccine mandate due to timeliness (i.e., because the
   requests were submitted after the August 31, 2021 deadline).” ECF Nos.
   66, 70. Specifically, the Motion requests the Court clarify that this
   provision applies only to “covered persons who had submitted an
   accommodation request ‘on or before September 23, 2021.’” ECF No. 70.

         The Court concludes that Defendant’s Motion should be and is
   GRANTED in part. ECF No. 70. Accordingly, it is ORDERED that the
   above-quoted language from the second operative paragraph of the
   Temporary Restraining Order applies only to those individuals who
   submitted     accommodation    requests   to   Defendant   on   or   before
   September 23, 2021, and that Defendant is not required to reopen its
   accommodation review process to consider requests made by individuals
   on or after September 24, 2021. All other relief requested in Defendant’s
   Motion is DENIED. ECF No. 70.
Case 4:21-cv-01074-P Document 72 Filed 10/18/21   Page 2 of 2 PageID 696



      SO ORDERED on this 18th day of October, 2021.




                 Mark T. Pittman
                 UNITED STATES DISTRICT JUDGE




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